Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 1 of 38 PageID #: 6




                         Exhibit 1
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 2 of 38 PageID #: 7
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 3 of 38 PageID #: 8
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 4 of 38 PageID #: 9
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 5 of 38 PageID #: 10
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 6 of 38 PageID #: 11
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 7 of 38 PageID #: 12
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 8 of 38 PageID #: 13
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 9 of 38 PageID #: 14
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 10 of 38 PageID #: 15
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 11 of 38 PageID #: 16
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 12 of 38 PageID #: 17
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 13 of 38 PageID #: 18
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 14 of 38 PageID #: 19
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 15 of 38 PageID #: 20
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 16 of 38 PageID #: 21
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 17 of 38 PageID #: 22
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 18 of 38 PageID #: 23
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 19 of 38 PageID #: 24
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 20 of 38 PageID #: 25
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 21 of 38 PageID #: 26
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 22 of 38 PageID #: 27
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 23 of 38 PageID #: 28
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 24 of 38 PageID #: 29
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 25 of 38 PageID #: 30
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 26 of 38 PageID #: 31
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 27 of 38 PageID #: 32
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 28 of 38 PageID #: 33
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 29 of 38 PageID #: 34
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 30 of 38 PageID #: 35
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 31 of 38 PageID #: 36
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 32 of 38 PageID #: 37
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 33 of 38 PageID #: 38
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 34 of 38 PageID #: 39
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 35 of 38 PageID #: 40
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 36 of 38 PageID #: 41
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 37 of 38 PageID #: 42
Case 2:24-cv-00189-JRG   Document 1-1   Filed 03/16/24   Page 38 of 38 PageID #: 43
